      Case 19-40594                 Doc 13        Filed 06/07/19 Entered 06/07/19 23:53:06                      Desc Imaged
                                                  Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1              Steven John Pontius                                          Social Security number or ITIN     xxx−xx−3087
                      First Name   Middle Name   Last Name                         EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                   EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court District of Minnesota

Case number: 19−40594



Order of Discharge                                                                                                              12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Steven John Pontius

                                                                          By the court: Michael E Ridgway
           6/4/19                                                                       United States Bankruptcy Judge


                                                                          NOTICE OF ENTRY AND FILING ORDER OR JUDGMENT
                                                                          Filed and docket entry made on June 4, 2019
                                                                          Lori Vosejpka Clerk, United States Bankruptcy Court
                                                                          By: admin Deputy Clerk




Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.

However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                         For more information, see page 2 >


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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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                                      United States Bankruptcy Court
                                          District of Minnesota
In re:                                                                                 Case No. 19-40594-MER
Steven John Pontius                                                                    Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0864-4          User: admin                  Page 1 of 2                   Date Rcvd: Jun 05, 2019
                              Form ID: mnbb318             Total Noticed: 35


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 07, 2019.
db             +Steven John Pontius,    3036 6th Avenue,     Apt #4,   Anoka, MN 55303-1153
smg            +United States Attorney,    600 US Courthouse,     300 S 4th St,   Minneapolis, MN 55415-3070
62189243       +ALLTRAN HEALTH INC,    PO BOX 519,    SAUK RAPIDS, MN 56379-0519
62189244       +CC SYSTEMS,    PO BOX 64437,    ST PAUL, MN 55164-0437
62189233       +CHERRIC KOSE,    24121 167TH ST NW,    BIG LAKE, MN 55309-9742
62189238       +COLLECTION RESOURCES,    PO BOX 2270,    ST CLOUD, MN 56302-2270
62225537        FIRST NATIONAL CREDIT CARD,     PO BOX 5097,    SIOUX FALLS, SD 57117-5097
62189228       +GIANCOLA-DURKIN PA,    403 JACKSON ST #305,     ANOKA, MN 55303-2693
62189226        HEALTHPARTNERS CLINIC,    PO BOX 79026,    MINNEAPOLIS, MN 55480
62189230       +MED CREDIT,    PO BOX 77037,    MINNEAPOLIS, MN 55480-7737
62225535        METROPOLITAN ANESTHESIA NETWORK,     PO BOX 47159,    PLYMOUTH, MN 55447-0159
62189229       +MILLENIUM HEALTH,    16981 VIA TAZON,    SAN DIEGO, CA 92127-1645
62225536        NORTH METRO SURGERY CENTER,     PO BOX 305250,    NASHVILLE, TN 37230-5250
62189231        NYSTROM & ASSOC LTD,    1900 SILVER LAKE RD #110,     MINNEAPOLIS, MN 55112
62189245       +SHELTOWEC LLC,    PO BOX 48223,    MINNEAPOLIS, MN 55448-0223
62189220       +SHERBURNE COUNTY SHERIFFS OFFICE,     FINANCE DIVISION,    13880 BUSINESS CENTER DR,
                 ELK RIVER, MN 55330-1692
62202240       +SPECIALISTS IN GENERAL SURGERY,     11855 ULYSSES ST NE #210,    BLAINE, MN 55434-4181
62189236        SPECIALISTS IN GENERAL SURGERY,     11865 ULYSSES ST NE #210,    BLAINE, MN 55434

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +EDI: MINNDEPREV.COM Jun 06 2019 03:18:00      Minnesota Department of Revenue,
                 Bankruptcy Section,    PO BOX 64447,   St Paul, MN 55164-0447
smg            +E-mail/Text: ustpregion12.mn.ecf@usdoj.gov Jun 05 2019 23:26:23        US Trustee,
                 1015 US Courthouse,    300 S 4th St,   Minneapolis, MN 55415-3070
62189240       +E-mail/Text: kristin.villneauve@allianceoneinc.com Jun 05 2019 23:26:20        ALLIANCE ONE,
                 4850 STREET RD #300,    TREVOSE, PA 19053-6643
62189219       +EDI: GMACFS.COM Jun 06 2019 03:18:00      ALLY AUTO,    PO BOX 380901,
                 BLOOMINGTON, MN 55438-0901
62189221       +EDI: CAPITALONE.COM Jun 06 2019 03:18:00      CAPITAL ONE,    PO BOX 30285,
                 SALT LAKE CITY, UT 84130-0285
62189235       +E-mail/Text: bknotification@centracare.com Jun 05 2019 23:26:50
                 CENTRACARE ST CLOUD HOSPITAL,    1406 6TH AVE N,    ST CLOUD, MN 56303-1901
62189241       +E-mail/Text: kzoepfel@credit-control.com Jun 05 2019 23:26:46       CREDIT CONTROL LLC,
                 5757 PHANTOM DR #330,    HAZELWOOD, MO 63042-2429
62189222       +EDI: RCSFNBMARIN.COM Jun 06 2019 03:18:00       CREDIT ONE,   PO BOX 98873,
                 LAS VEGAS, NV 89193-8873
62189237       +E-mail/Text: lisamoore@creditoradvocates.com Jun 05 2019 23:27:07        CREDITOR ADVOCATES,
                 1551 SOUTHCROSS DR W #C,    BURNSVILLE, MN 55306-6938
62189225       +EDI: AMINFOFP.COM Jun 06 2019 03:18:00      FIRST PREMIER BANK,    PO BOX 5524,
                 SIOUX FALLS, SD 57117-5524
62189234        E-mail/Text: GOLF_STBankruptcy@gatewayonelending.com Jun 05 2019 23:26:19
                 GATEWAY ONE LENDING & FINANCE,    160 N RIVERVIEW DR #100,    ANAHEIM, CA 92808
62189223       +E-mail/Text: bncnotices@becket-lee.com Jun 05 2019 23:26:24       KOHLS,    PO BOX 3043,
                 MILWAUKEE, WI 53201-3043
62189224       +EDI: MERRICKBANK.COM Jun 06 2019 03:18:00       MERRICK BANK,   PO BOX 9201,
                 OLD BETHPAGE, NY 11804-9001
62189232       +E-mail/Text: bankruptcy.notices@northmemorial.com Jun 05 2019 23:26:36
                 NORTH MEMORIAL HEALTH,    100 S OWESSO BLVD W,    ST PAUL, MN 55117-1036
62189227       +E-mail/Text: bankruptcynotices@healthpartners.com Jun 05 2019 23:27:28        REGIONS HOSPITAL,
                 640 JACKSON ST,   ST PAUL, MN 55101-2595
62189239        E-mail/Text: reliancesupport@arsprofessionals.com Jun 05 2019 23:26:16        RELIANCE RECOVERIES,
                 PO BOX 29227,   MINNEAPOLIS, MN 55429
62189242       +EDI: RESURGENT.COM Jun 06 2019 03:18:00      SHERMAN ORGINATORS LLC,     PO BOX 10497,
                 GREENVILLE, MN 29603-0497
                                                                                               TOTAL: 17

           ***** BYPASSED RECIPIENTS *****
NONE.                                                                                         TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.
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                                      Form ID: mnbb318                   Total Noticed: 35


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 07, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 4, 2019 at the address(es) listed below:
              James R Doran    on behalf of Debtor 1 Steven John Pontius wexf@hotmail.com
              John R. Stoebner    jstoebner@lapplibra.com,
               lfrey@lapplibra.com;kstimpel@lapplibra.com;MN04@ecfcbis.com;nspooner@lapplibra.com
              US Trustee    ustpregion12.mn.ecf@usdoj.gov
                                                                                            TOTAL: 3
